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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                         MONROE DIVISION
   LUV N’ CARE                                           CIVIL ACTION NO. 3:16-00777
   VERSUS                                                JUDGE TERRY A. DOUGHTY
    LINDSEY LAURAIN, ET AL.                              MAG. JUDGE PEREZ-MONTES

                                       MEMORNDUM ORDER

          The Court entered an Order addressing the issues presented by the parties in the Pretrial

   Order and the Pretrial Memoranda. [Doc. No. 761]. In the Order, the Court allowed the parties to

   brief and/or clarify certain issues. The parties submitted additional briefing. [Doc. Nos. 769, 771,

   778, 779]. The Court issues the following rulings:

   I.     Issues Identified by the Court that the Parties were Allowed to Submit Further
          Briefing.
   ISSUE NO. 1:

          Whether EZPZ’s knowledge for purpose of LNC’s LUTPA claims is “collective” on the

   part of EZPZ, as alleged by LNC.

   Additional Ruling on Issue No. 1:

          As evidenced by the parties’ additional briefing, this is not a contested issue of law. The

   parties agree that an agent’s knowledge may be imputed to the principal whether the agent conveys

   the information to the principal or not in certain instances. [Doc. No. 779 at 7].1 The Court agrees

   with EZPZ that in the absence of identification of the information and circumstances, a party

   cannot reasonably respond to what knowledge may be imputed. Finally, the Court notes that this




   1
    Citations to the parties’ filings are to the filing’s number in the docket [Doc. No.] and pin cites
   are to the page numbers assigned through ECF.
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   principal applies equally to both parties. In other words, it is not limited to the knowledge of

   EZPZ’s agents to EZPZ, but also to the knowledge of LNC’s agents to LNC.

   ISSUE NO. 2:

          Whether the alleged verbal assignment of rights in the ’903 Patent and D327 Patent by

   Lindsey Laurain to EZPZ (prior to the October 9, 2016 written assignment) is null and void, as

   claimed by LNC.

   Additional Ruling on Issue No. 2:

          EZPZ argues that this is an improper attempt by LNC to expand the scope of the litigation.

   [Doc. No. 779 at 8]. The Court agrees. The written assignment related to this issue was recorded

   with the USPTO on October 10, 2016. [Doc. No. 646-1]. The assignment document itself

   references that it was relying on an “oral assignment” dating back to April 10, 2014. [Id.]. LNC’s

   First Amended Complaint [Doc. No. 21], which is the operative document, was filed on October

   28, 2016. Thus, LNC had constructive notice of the oral assignment issue before it filed its First

   Amended Complaint. Accordingly, the Court finds that LNC waived any argument related to the

   assignment by not amending its complaint. To be clear, the Court appreciates that “nunc pro tunc

   assignments are not sufficient to confer retroactive standing.” Enzo APA & Son, Inc. v. Geapag

   A.G., 134 F.3d 1090, 1093 (Fed. Cir. 1998). However, any issues related to the oral assignment

   should have been addressed well before the eve of trial.

   ISSUE NO. 5:

          Whether LNC can pursue a claim for damages under the Lanham Act and/or LUTPA

   violations due to alleged failure to timely disclose said damages.

   Additional Ruling on Issue No. 5:

          LNC argues that no precise measurement of numerical value for LNC’s lost sales is

   necessary under the Lanham Act or LUTPA. [Doc. No. 769 at 15]. According to LNC, LUTPA
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   only requires proof of an ascertainable loss, and “does not require a precise measurement of the

   damage…” [Id.] (citing Oliveira v. Martins, No. 14-482, 2014 WL 4186675, at *4 (E.D. La. Aug.

   21, 2014)). Similarly, LNC argues that “‘Injury’ for purposes of the Lanham Act is not

   synonymous with proof of actual damages.” [Id. at 16] (citing S. Snow Mfg. Co. v. Snow Wizard

   Holdings, Inc., 829 F. Supp. 2d 437, 445 n.10 (E.D. La. 2011). According to LNC, it only needs

   to provide sufficient evidence of injury and damages to prove EZPZ breached the Lanham Act,

   and not a precise dollar amount. [Id.] (citing Dynamatize Enters., Inc. v. Maximum Human

   Performance, Inc., Nos. 09-0046, 09-1719, 2010 WL 6111631, at *6 (N.D. Tex. June 24, 2010)).

   LNC contends that it has lost customers as a direct result of EZPZ’s smear campaign and call for

   a boycott of all LNC products. [Id. at 17]. LNC argues that how much harm and to what extent

   LNC has been damaged should be left to the trier of fact. [Id.]

          EZPZ responds that LNC concedes that it has never disclosed the numerical amount of

   damages that it has allegedly suffered in lost sales, and that it cannot prove any actual damages

   due to the alleged boycott. [Doc. No. 779 at 11]. EZPZ argues that LNC cannot prove an

   ascertainable loss under LUTPA, because the evidence LNC relies on is inadmissible as hearsay.

   [Id. at 11-12]. EZPZ contends that the claims cannot go forward when there is no evidence of an

   ascertainable loss. [Id. at 12]. EZPZ also cites deposition testimony of LNC’s corporate

   representative and Mr. Nouri Hakim in support of its arguments. [Id. at 12-14]. EZPZ concludes

   that LNC cannot prove “injury” under the Lanham Act, and cannot prove an ascertainable loss

   under LUTPA. [Id. at 14].

          EZPZ does not disagree that neither LUTPA nor the Lanham Act require LNC to plead a

   precise numerical value for LNC’s lost sales. Instead, EZPZ argues that LNC cannot prove




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   “injury” under the Lanham Act, and cannot prove an ascertainable loss under LUTPA due to a

   lack of admissible evidence.

          The Court finds LNC never disclosed a numerical amount of damages that it allegedly

   suffered in lost sales. LUTPA requires an “ascertainable loss.” La. R.S. 51:1409. LNC admittedly

   has no evidence to prove that the customers who posted on LNC’s website actually stopped buying

   LNC products. [Doc. No. 338-6 Depo. Tr. 63:5 to 64:8]. LUTPA claims cannot go forward where

   there is no evidence of “ascertainable loss.” Newsouth Communications Corp. v. Universal

   Telephone Co., No. 02-2722, 2002 WL 31246558 (E.D. La. Oct. 4, 2002); Vickers v. Interstate

   Dodge, 882 So.2d 1236, 1244 (La. App. 3 Cir. 2004).

          This Court is unclear whether LNC is making an injunctive relief claim, but injunctions

   are not allowed for private litigants under LUTPA. Camowraps, LLC v. Quantum Dig. Ventures

   LLC, No. 13-6808, 2015 U.S. Dist. LEXIS 61944, at *4-7 (E.D. La. May 12, 2015). It is clear that

   LNC is making an injunctive relief claim under the Lanham Act.

          EZPZ also argues that LNC is not entitled to nominal damages. [Doc. No. 779 at 14] (citing

   Doc. No. 773 at 42; see also Doc. No. 769 at 17 n. 31]. The Court agrees with EZPZ. LNC “has

   not cited any cases addressing the availability of nominal damages. The Court’s research suggests

   that LUTPA does not permit an award of nominal damages in the absence of actual evidence of

   damages.” Camowraps, LLC v. Quantum Dig. Ventures LLC, No. 13-6808, 2015 U.S. Dist. LEXIS

   61944, at *9 n.17 (E.D. La. May 12, 2015).

          Under the Lanham Act, LNC must prove “injury” and cannot do so for the same reasons

   as discussed for the LUTPA claim. Therefore, LNC cannot pursue a claim for damages under the

   Lanham Act or LUTPA.




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   ISSUE NO. 10:

           Whether LNC’s alleged claims of conspiracy under the LUTPA against EZPZ can be heard

   when the alleged third parties, including Lindsey Laurain, who allegedly conspired with EZPZ,

   are not defendants in this suit.

   Additional Ruling on Issue No. 10:

           LNC notes preliminarily that its allegations of a conspiracy between Mrs. Laurain (acting

   for EZPZ) and certain of EZPZ’s followers is an alternative allegation and is not essential to LNC’s

   LUTPA claim. [Doc. No. 769 at 17]. Specifically, LNC argues that “[n]o conspiracy among

   participants is needed to support LNC’s LUTPA claim.” [Id. at 20]. Notwithstanding, LNC

   contends that there was a tacit conspiracy among Mrs. Laurain and the ezpzfun Facebook Group

   followers who participated in the EZPZ Facebook group chats related to the NUBY launches of

   its integrated silicone mat. [Id. at 20].

           EZPZ argues that this allegation was withdrawn by LNC as it relates to LNC’s

   customers/retailers. [Doc. No. 771 at 7]. EZPZ contends that this subpart of the LUTPA claim

   should not be entitled to be pursued by LNC. [Id.]

           The Court previously noted that LNC’s Amended Complaint [Doc. No. 21] alleged that

   EZPZ undertook a social media campaign posting comments that LNC’s feeding mat infringes on

   EZPZ’s utility patent. [Doc. No. 761 at 3] (citing Doc. No. 21 at ¶ 52). Indeed, EZPZ states that it

   “does not contest that LNC’s claim regarding EZPZ’s alleged smear campaign and call for boycott

   of products were pleaded.” [Doc. No. 779 at 6]. Likewise, EZPZ did not object or argue that this

   was a new theory not previously raised by LNC in its opposition to LNC’s cross-motion for partial

   summary judgment under LUTPA. [See, e.g., Doc. No. 621 at 11]. Accordingly, LNC can purse

   this conspiracy theory under LUTPA.



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   ISSUE NO. 11:

             Whether the ’903 Patent is invalidated until all appeals are exhausted, and whether EZPZ

   is allowed to contradict the Court’s invalidity ruling [Doc. No. 526] to counter LNC’s claim that

   EZPZ acted in bad faith by asserting the 903 Patent.

   Additional Ruling on Issue No. 11:

             EZPZ argues that the Court’s ruling on the ’903 Patent regarding a finding of obviousness

   does not ipso facto lead to a finding on the element that EZPZ acted in “bad faith” in asserting its

   patent for the reasons further described below. [Doc. No. 771 at 8]. EZPZ contends that to the

   extent the Court were to find that claims still exist that hinge on whether EZPZ acted in “bad faith”

   in asserting the ’903 ‘Patent, EZPZ would necessarily have to be permitted to offer its rationale

   for why it believed at the time that it was asserting any patent infringement of the ‘903 Patent it

   believed that patent to be valid. [Id. at 9]. According to EZPZ, the finding of the Court on a question

   of obviousness cannot substitute for the showing that LNC must make to prevail on its claim. [Id.

   at 10].

             LNC responds that the Court’s Invalidity Ruling is the “law of the case.” [Doc. No. 778 at

   10] (citing Dkt. Nos. 522 and 523). According to LNC, the Court’s Invalidity Ruling is dispositive

   of the but-for materiality of the Webb Prior Art and the invalidity of the ‘903 Patent. [Id. at 11]

   (citing Therasense, Inc. v. Becton, Dickinson & Co., 649 F.3d 1276, 1292 (Fed. Cir. 2011)).

             The Court finds that this issue is MOOT. The Court will conduct a bench trial on

   inequitable conduct prior to the jury trial. At the bench trial, LNC has the burden of proving that

   the patentee committed inequitable conduct in obtaining the ’903 Patent. See, e.g., Therasense,

   649 F.3d at 1290 (“[T]he accused infringer must prove by clear and convincing evidence that the

   applicant knew of the reference, knew that it was material, and made a deliberate decision to

   withhold it.”).
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           If LNC is successful in proving inequitable conduct, then EZPZ will be precluding from

   arguing that it acted in good faith in asserting the ’903 Patent during the jury trial.

           If LNC is unsuccessful in proving inequitable conduct, then LNC’s claim that EZPZ acted

   in bad faith by asserting the ’903 Patent will be preempted under Federal patent law. Specifically,

   “Federal patent law preempts state-law tort liability for a patentholder’s good faith conduct in

   communications asserting infringement of its patent and warning about potential litigation.”

   Globetrotter Software, Inc. v. Elan Computer Group, Inc., 362 F.3d 1367, 1374 (Fed. Cir. 2004)

   (citing Zenith Elecs. Corp. v. Exzec, Inc., 182 F.3d 1340, 1355 (Fed. Cir. 1999)).

   ISSUE NO. 13:

           Whether EZPZ is entitled to the same damages for trade dress infringement as it is entitled

   to for infringement of the design patent.

   Additional Ruling on Issue No. 13:

           EZPZ argues that from the beginning of this case, it has stated that trade dress damages

   were to be calculated from LNC’s lost profits. [Doc. No. 771 at 11] (citing Doc. No. 40 at ¶122).

   According to EZPZ, its expert, Mark Pedigo, identified the sales and calculated the profits of LNC

   in selling the accused products. [Id. at 12]. EZPZ concedes that Mr. Pedigo’s report identifies lost

   profits for purposes of determining design patent infringement damages, and not for trade dress

   infringement, but contends those damages are the same for the trade dress infringement claim

   because the accused products are the same. [Id.]. According to EZPZ, Mr. Pedigo timely disclosed

   his opinions and was questioned extensively throughout his deposition on July 26, 2019 about his

   lost profits analysis and how he derived it. [Id.]. EZPZ argues that it has consistently and timely

   disclosed the lost profit damages it seeks for trade dress infringement as set forth in the controlling

   statute. [Id.].



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           LNC responds that EZPZ never disclosed the basis for and the amount of alleged trade

   dress damages during fact or expert discovery. [Doc. No. 778 at 14]. LNC argues that Mr. Pedigo’s

   analysis of LNC’s total profits from alleged design patent infringement cannot be substituted to

   support EZPZ’s claim for disgorgement of LNC’s profits for alleged trade dress infringement. [Id.]

   According to LNC, EZPZ never tendered any expert report or testimony on alleged damages

   specifically associated with its trade dress infringement claim. [Id. at 15]. LNC contends that

   EZPZ’s assertion that Mr. Pedigo’s calculation of EZPZ’s alleged lost profits for design patent

   infringement are identical to EZPZ’s alleged lost profits for trade dress infringement is an untimely

   disclosure. [Id. at 16].

           The Court finds that EZPZ never disclosed the basis for and the amount of alleged trade

   dress damages during fact or expert discovery. EZPZ is attempting to bootstrap damages for the

   trade dress infringement with expert Mark Pedigo’s analysis of LNC’s total profits from alleged

   design patent infringement. EZPZ has never supplemented its answer to LNC’s Interrogatory No.

   19 [Doc. No. 350-10]. Mark Pedigo makes no mention in either his Expert Report or Supplemental

   Expert Report about damages and/or lost profits related to trade dress infringement. Therefore,

   EZPZ is not entitled to claim damages for alleged trade dress infringement.

   ISSUE NO. 15:

           Whether EZPZ’s D327 has been and will remain a valid patent.

   Additional Ruling on Issue No. 15:

           Due to the Inequitable Conduct trial, this issue is MOOT.

   ISSUE NO. 25:

           Whether “The Patent Process: An Overview for Jurors” can be shown to the jury venire

   prior to selection.



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   Additional Ruling on Issue No. 25:

           There were no objections, so the above video will be shown to the jury venire.

   ISSUES NO. 27/28:

           Whether emails on EZPZ’s Exhibit List related to an unaccused product, developed many

   months earlier by Nuby-UK, are admissible.

           Whether emails related to the conduct of Nuby-UK and emails discussing other products

   not accused of infringement are admissible against LNC at trial.

   Additional Ruling on Issues No. 27/28:

           LNC argues that it is seeking to exclude emails among and between Nuby-UK and/or its

   Chinese manufacturer that do not involve Mr. Hakim or anyone at LNC. [Doc. No. 778 at 22].

   LNC contends that there is no witness at trial who can authenticate or lay a foundation for these

   emails. [Id.]. LNC further contends that the Court made clear on December 4, 2018, that LNC’s

   alleged copying of products not accused of infringement are not relevant. [Id. at 23] (citing Doc.

   No. 216).

           The Court generally agrees that non-accused products are not relevant to EZPZ’s willful

   infringement or trade dress infringement claim. This evidence is potentially too attenuated to be

   relevant, maybe confusing, and could be unduly prejudicial. See, e.g., Racing Optics, Inc. v. Aevoe

   Corp., No. 2:15-cv-1774-RCJ-VCF, 2016 U.S. Dist. LEXIS 52886, at *11 (D. Nev. Apr. 19, 2016)

   (“Documents related to the non-Accused Products are irrelevant to any claim or defense in this

   lawsuit.”). Thus, in the abstract, the Court views this type of evidence as inadmissible.

           However, EZPZ argues that the Court has already decided in the Motion in Limine Ruling

   that these documents are admissible. [Doc. No. 771 at 13] (citing Doc No. 715). As indicated in

   that Order, the Court refused to preclude this type of evidence and testimony in this preliminary

   context. [Doc. No. 715 at 8]. Indeed, “it is the better practice to wait until trial to rule on objections
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when admissibility substantially depends upon what facts may be developed there.” Starling v.

Union Pac. R.R., 203 F.R.D. 468, 482 (D. Kan. 2001). To be clear, the Motion in Limine Ruling

only indicates that Court is not precluding that evidence at this preliminary stage. It is not a finding

that the evidence is admissible per se. Accordingly, as with all Motion in Limine Rulings, a party

may object to evidence it deems inadmissible.

       The Court does note that LNC’s argument that EZPZ will not be able to authenticate emails

among and between Nuby-UK and its Chinese manufacturer that do not involve Hakim or anyone

at LNC is very compelling since EZPZ has not listed any witnesses that are parties to these emails.

Any email that is not authenticated will not be admitted into evidence.

       However, any of the emails which allegedly seek to prove the “modus operandi” of LNC

copying EZPZ or other products, are EXCLUDED. This Court made clear on December 4, 2018,

that evidence of LNC copying products not accused of infringement are irrelevant. [Doc. No. 662].

ISSUE NO. 31

       Whether EZPZ witness, Megan Rushing, shall be excluded from testifying as not

previously identified.

Additional Ruling on Issue No. 31:

       It is the Court’s understanding that LNC has agreed to withdraw Megan Rushing as a

potential witness. [Doc. No. 769 at 21]. Accordingly, this issue is MOOT.




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II.    Issues that the Parties Requested Further Clarification.
ISSUE NO. 4:

       Whether LNC properly plead, and should be allowed to try against EZPZ, the following

claims under LUTPA:

       (1) a LUTPA violation for alleged cease and desist letter;

       (2) a LUTPA violation for alleged wrongful litigation conduct;

       (3) a LUTPA violation for EZPZ’s alleged attempts to have advertisers and sales platforms
       such as Amazon remove LNC’s advertisements and product listings based on alleged
       infringement;

       (4) allegations of improper patent marking under 35 U.S.C. § 292;

       (5) Ms. Lindsey Laurain’s personal liability;

       (6) infectious enforceability; and

       (7) conspiracy.

Additional Ruling on Issue No. 4:

       LNC asks the Court to revisit its ruling on Issue No. 4 insofar as it relates to what the Court

lists as claim (1) – a violation under the Louisiana Unfair Trade Practices and Consumer Protection

Law Act (“LUTPA”) for the alleged cease and desist letter. [Doc. No. 769 at 5]. LNC argues that

it is apparent the Court either overlooked Paragraph 65 of the First Amended Complaint or did not

appreciate that the threatening April 27, 2016 letter referenced in Paragraph 65 was the cease and

desist letter. [Id. at 7]. According to LNC, its LUTPA claim expressly included the allegation in

Paragraph 65 that the April 27, 2016 letter (i.e., the “cease and desist all sales activity” letter)

threatened LNC. [Id.]

       EZPZ replies that the alleged unlawful cease and desist letter is first mentioned in the

Amended Complaint, at paragraph 65, under a section entitled “Defendants Have Threatened

Plaintiff and Its Customers.” [Doc. No. 779 at 5]. EZPZ argues that this section, which is marked

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as paragraphs 65-69, specifically requests declaratory judgment for this action (¶69)—not damages

under LUTPA. [Id.]. According to EZPZ, LNC attempted to shift its position in April 2020

approximately 15 months after discovery cutoff, and nearly four years after the filing of the

Complaint in this matter. [Id.]. EZPZ argues that LNC cannot have it both ways, it cannot contend

that it knew of the cease and desist letter and timely pleaded it while at the same time contend that

its discovery responses in April 2020 were timely because of alleged new information it just

discovered. [Id.]. EZPZ further argues that an amendment of LNC’s discovery responses would

not equate to an amendment of the operating complaint. [Id. at 5-6]. The Court agrees with EZPZ,

and will not revisit its previous ruling.

        LNC further seeks clarification regarding the Court’s statement that LNC never amended

its Complaint to add claims regarding EZPZ’s smear campaign and call for a boycott of LNC’s

products. [Doc. No. 769 at 8] (citing Doc. No. 761 at 3). LNC states that it assumes that the Court’s

language in the second paragraph of that section stating LNC never amended its Complaint to add

these claims was not intended to refer to the claims regarding EZPZ’s smear campaign and call for

a boycott of LNC’s products. LNC’s assumption is correct. Indeed, “EZPZ does not contest that

LNC’s claim regarding EZPZ’s alleged smear campaign and call for boycott of products were

pleaded.” [Doc. No. 779 at 6].

ISSUE NO. 6

        Whether the April 2016 letter sent by EZPZ to LNC is a “cease and desist” letter.

Additional Ruling on Issue No 6:

        LNC respectfully requests that it be permitted to refer to the letter as a “cease and desist”

letter. [Doc. No. 769 at 8-9]. As discussed above with regards to Issue No. 4, LNC did not plead

the “cease and desist” as part of its LUTPA claims. Instead, the letter was plead as part of its



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declaratory judgment claim. Accordingly, as previously determined, “this issue cannot be brought

by LNC as part of its LUTPA claim.” [Doc. No. 761 at 4].

ISSUE NO. 7

          Whether LNC is entitled to treble damages for any LUTPA violation, prior to the Attorney

General’s June 3, 2020 letter.

Additional Ruling on Issue No 7:

          LNC seeks clarification from the Court that evidence of conduct at any time is admissible

to prove a LUTPA violation, and that treble damages may only be awarded if EZPZ’s unfair or

deceptive conduct continued after June 3, 2020. [Doc. No. 769 at 9]. EZPZ argues that “[t]his

matter was already addressed by the Court and does not need to be re-addressed.” [Doc. No. 779

at 6].

          LNC is correct that the Court only intended to indicate that treble damages may only be

awarded if EZPZ’s unfair or deceptive conduct continued after June 3, 2020.



III.      Issue Raised During Telephone Pretrial Conference.
ISSUE NO. 35
       Whether EZPZ should be required to declare a date the Happy Mat and the Mini Mat allegedly

acquired secondary meaning.

Ruling on Issue No 35:

          LNC argues that EZPZ should be required to declare a date the Happy Mat and the Mini

Matt allegedly acquired secondary meaning. [Doc. No. 778 at 5]. LNC contends that EZPZ should

not be permitted to rely on evidence prior to the date it claims to have acquired secondary meaning

to also establish likelihood of confusion. [Id.] According to LNC, the only relevant evidence EZPZ



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may rely on to establish secondary meaning must predate the date it identifies as having established

secondary meaning. [Id. at 6].

        In a trade dress, EZPZ “must make the additional showing that its design has acquired

secondary meaning in the marketplace by which it is identified with its producer or source.”

Blumenthal Distrib. v. Exec. Chair, Inc., No. CV-10-1280 (CBA), 2010 U.S. Dist. LEXIS 142193,

at *19 (E.D.N.Y. Nov. 9, 2010) (internal quotation marks and citation omitted). “Whether a trade

dress has acquired secondary meaning is a question of fact.” Nutraceutical Corp. v. NutraChamps,

Inc., No. 2:18-cv-00400-DB-DAO, 2020 U.S. Dist. LEXIS 203190, at *17 (D. Utah Oct. 30, 2020)

(citation omitted). “Secondary meaning can be established through direct evidence, such as

consumer surveys, or through circumstantial evidence, such as the length and manner of the trade

dress’s use, the nature and extent of advertising and promotion of the trade dress, the efforts made

in promoting a connection in the public's mind between the trade dress and a particular product or

venture, proof of intentional copying, or evidence of sales volume.” Nutraceutical Corp. v.

NutraChamps, Inc., No. 2:18-cv-00400-DB-DAO, 2020 U.S. Dist. LEXIS 203190, at *15 (D. Utah

Oct. 30, 2020). “Proof of secondary meaning entails vigorous evidentiary requirements.”

Schieffelin & Co. v. Jack Co., 89 Civ. 2941 (PKL), 1992 U.S. Dist. LEXIS 9279, at *42 (S.D.N.Y.

June 23, 1992) (citation omitted). Accordingly, EZPZ “must establish that its mark had acquired

secondary meaning before the first infringing use by each alleged infringer.” Converse, Inc. v. ITC,

909 F.3d 1110, 1116 (Fed. Cir. 2018) (emphasis added). However, EZPZ does not have to declare

a specific date.

        EZPZ contends that its trade dress acquired secondary meaning no later than July 17, 2018,

the date of its Trademark Registration for its trade dress. [Doc. No. 779 at 17]. The Court finds

that this is an improper attempt by EZPZ to introduce the registration of the trade dress at this very



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late stage in the case. The Court is cognizant that there is only a single trade dress, and that this

trade dress went from unregistered (common law) to registered on July 17, 2018. However, the

issue here is the presumptions that federal registration provides. See, e.g., Converse, 909 F.3d at

1117 (“[T]he Lanham Act entitles the owner of the registered mark to a presumption that the mark

is valid, see 15 U.S.C. §§ 1057(b), 1115(a), including that it has acquired secondary meaning …”).

         EZPZ does not contend that it previously asserted that LNC infringed its registered trade

dress. Accordingly, EZPZ will not be allowed to claim the benefit of these presumptions on the

eve of trial. To be clear, EZPZ “must establish that its mark had acquired secondary meaning

before the first infringing use by each alleged infringer.” Id. at 1116. The parties can present the

factual issues related to this issue to the jury, but EZPZ cannot rely on the registration of its trade

dress.

         Monroe, Louisiana, this 4th day of August, 2021.



                                                       ____________________________________
                                                        TERRY A. DOUGHTY
                                                        UNITED STATES DISTRICT JUDGE




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